                             In re: Eyman, 18-14536-MLB




                          EXHIBIT 2
                            to Declaration of Susan Edison
                    in Support of State of Washington’s Response to
                    Motion to Sell Debtor’s Interest in Marital Home




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Details                                                                                          Page 1 of 3



      Case Information




      19-3-01149-31                Snohomish

      05/17/2019                   DIC Dissolution of Marriage with   Completed/Re-Completed
                                   Children




      Party


                                                                                    Ú
      EYMAN, KAREN JOAN                                                Pro Se


      XX/XX/1959




                                                                                    Ú
      EYMAN, TIMOTHY DONALD                                            Pro Se


      XX/XX/1965




      Events and Hearings


                              Ú




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https://prdodypub.courts.wa.gov/ODYPORTAL/Home/WorkspaceMode?p=0                                  10/14/2020
Details                                                                                  Page 2 of 3

                                             Ú




            handbook


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                                         Ú



          Langbehn, Jennifer R.


          2:30 PM


          1st ADR Deadline: joinder demands notice; no activity since filing


                                                                 Ú




            Langbehn, Jennifer R.


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Details                                                                                               Page 3 of 3

      Financial


             Total Financial Assessment                                                             $314.00
             Total Payments and Credits                                                             $314.00


          5/17/2019   Transaction Assessment                                                       $314.00

          5/17/2019   Counter Payment          Receipt # 31-2019-00038106   Pending, Snohomish   ($314.00)




      Documents




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